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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
1:20-CR-00133 — LUV-MJR

V. DECISION AND ORDER

DEMARIO CASTRICONE,

Defendant.

 

This case has been referred to the undersigned by the Hon. Lawrence J. Vilardo
pursuant to 28 U.S.C. §636(b)(1) for all pre-trial matters and to hear and report upon
dispositive motions. (Dkt. No. 17). Before the Court are omnibus pre-trial motions by
defendant Demario Castricone (“defendant”). (Dkt. No. 27). The Government also filed a
cross-motion for discovery. (Dkt. No. 28). The Court’s decisions as to the various non-
dispositive motions and discovery demands are set forth in detail below.

BACKGROUND

On September 9, 2020, a federal grand jury returned an Indictment charging
defendant with one count of wire fraud, in violation of 18 U.S.C. § 1343, and one count of
extortion under New York law, in violation of 18 U.S.C. § 1952(a)(3) [“Travel Act”]. (Dkt.
No. 15). The Indictment alleges that, beginning on September 13, 2019 and continuing
until on or about December 19, 2019, defendant engaged in a scheme to extort a sum of
$18,000 in United States currency from a known victim. (/d.).

Defendant has filed omnibus pre-trial motions seeking, inter alia, to modify a

protective order for discovery materials and compel the disclosure of Brady/Giglio
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material, as well as additional discovery demands. (Dkt. No. 27). The Government filed a
response to defendant's motions and made a cross-motion for reciprocal discovery. (Dkt.
No. 28). Defendant filed a reply to that response. (Dkt. No. 30).

The Court heard oral argument on the motions on February 17, 2021 and
considered the matter submitted. The Court’s decisions as to defendant’s omnibus
motions are set forth in detail below.

DISCUSSION
7. Motion to Modify Protective Order

Defendant moves to modify a protective order which was entered by this Court
upon consent of the parties on March 30, 2020. (Dkt. No. 27, pgs. 4-8). The protective
order currently in place provides that the Government will disclose certain documents and
recordings, including law enforcement agency reports (redacted FBI FD 302s), text
communications between the defendant and victim/confidential source, and consensual
recordings of conversations between the defendant and victim/confidential source, to
defense counsel, with the condition that they will not be disclosed to the defendant or the
disseminated to the public and will be provided “for attorney’s eyes only.” (Dkt. No. 5).

Defendant asserts that he is entitled to discovery of these documents and
recordings under Rule 16, which expressly provides that records must be made available
for inspection and copying by the defendant. See Fed. R. Crim. P. 16(a)(1)(B) and
(a)(1)(E). However, Rule 16(d) provides that protective and modifying orders may be
issued by the Court based on “good cause [to] deny, restrict, or defer discovery or

inspection, or grant other appropriate relief.” Applying the “good cause” standard requires

 

1 The current protective order, which was entered prior to the indictment in this case, allows defendant to
move to modify the order in the event of such an indictment. (Dkt. No. 5, pg. 2).

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courts to balance several interests, including whether dissemination of the discovery
materials inflicts "hazard to others,” and whether "the imposition of the protective order
would prejudice the defendant." United States v. Smith, 985 F. Supp. 2d 506, 522
(S.D.N.Y. 2013) (internal citations and quotations omitted). Good cause exists “when a
party shows that disclosure will result in a clearly defined, specific and serious injury.” In
re Terrorist Attacks on September 11, 2001, 454 F. Supp. 2d 220, 222 (S.D.N.Y. 2006).
As the party seeking the protective order, the Government bears the burden of showing
good cause in this instance. See In re "Agent Orange" Prod. Liab. Litig., 821 F.2d 139,
145 (2d Cir. 1987) ("The party seeking a protective order has the burden of showing that
good cause exists for issuance of that order [...].”).

Defendant requests that the Court modify the protective order to allow him access
to the discoverable materials with a continued prohibition against public dissemination.
Defendant argues that this proposed modification is warranted based on the following
circumstances: (1) the identity of the alleged victim is well-known to defendant; (2)
defendant has been out of custody since the case began and there are no allegations of
improper conduct or contact with the victim during this time; and (3) the proposed
modification serves the Government's interest in protecting the alleged victim in the least
restrictive manner. Defense counsel also submits that the risks associated with the Covid-
19 pandemic creates complications towards holding in-person meetings with defendant
to review this discovery.

The Government opposes defendant’s request in the interest of protecting the
privacy and security of the victim in this case. The Government maintains that good cause

exists to restrict the materials covered by the protective order from being possessed by
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defendant. The Government states that if defendant were to disseminate the protected
materials, it would place the victim in danger in a way that defendant could not achieve
by merely knowing the victim’s name. The Government has also filed a sealed ex parte
affidavit which provides additional rationale for continued protection of these documents
and recordings. The Government does consent to modifying the protective order to
remove the “for attorney's eyes only” restriction, thus allowing defendant to review the
protected materials with his counsel, but not possess them.

The Court concludes that the Government has established good cause under Rule
16(d) for the continued protection of these documents and records. It particularly notes
the risks associated with dissemination of the materials. Thus, the Court finds that the
protective order should be modified to allow defendant to view the materials, as
consented to by the Government, but will not allow defendant to possess or retain any of
the protected materials. Accordingly, an amended protective order will be issued.

2. Motion to Compe! Disclosure of Brady/Giglio Material

Defendant moves for the disclosure of any favorable, exculpatory or impeachment
materials pursuant to Brady, Giglio and their progeny.” (Dkt. No. 27, pgs. 8-11). “[Al]s a
general rule, Brady and its progeny do not require immediate disclosure of all exculpatory
and impeachment material upon request by a defendant.” United States v. Coppa, 267
F.3d 132, 146 (2d Cir. 2001). “[A]s long as a defendant possesses Brady evidence in time
for its effective use, the Government has not deprived the defendant of due process of

law simply because it did not produce the evidence sooner.” /d. at 144.

 

2 Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972).

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Defendant’s specific requests for Brady material include (1) any reports of
investigation into the alleged victim, including any contributory role in the alleged offense;
(2) any written or recorded statements of the alleged victim that constitute impeachment
material under Giglio; (3) any evidence of actions of the victim on September 13, 2019,
which prompted the alleged actions of defendant; and (4) any information calling into
question the alleged victim’s credibility or accuracy of his recollection of events, including
that he “became heavily intoxicated and did not recall much of the evening,” as referenced
in the criminal complaint. Defendant contends that information about the victim’s
recollection of his initial conversation with defendant while he was intoxicated is critical to
the defense and should be subject to immediate disclosure under Giglio, as opposed to
Jencks Act timing for non-exculpatory evidence relevant only to witness impeachment.

In its written response, the Government submits that it is mindful of its obligations
and will provide Brady and Giglio material but maintains that is not currently in possession
of any material exculpatory information requiring disclosure at this time. It notes that the
victim’s admission that he was intoxicated from heavy drinking has already been
disclosed to the defendant through the criminal complaint. At oral argument on
defendant's pretrial motions, the Court directed the Government to produce for in camera
inspection the FBI reports and notes containing the victim’s statements for determination
of whether they contain Brady or Giglio material subject to disclosure consistent with
Coppa. The Government produced the statements to the Court as directed and, while
maintaining that the reports do not contain inconsistent statements of the victim, the
Government has agreed to provide these reports and notes to the defendant subject to

redaction of the victim’s name and identifying information, and under the terms of the
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amended protective order discussed above. Thus, the Government agrees only to
disclosure of this evidence for review by defendant in the presence of his attorney and
with a prohibition against defendant making, receiving, or possessing copies of the
materials.

Given the Government's representations and agreement to produce the above-
described evidence, defendant’s motion to compel the production of Brady/Giglio material
is denied as moot. Consistent with Coppa, the Government is reminded of its continuing
obligation to timely disclose any Brady and Giglio material to defendant. See United
States v. Padovani, 2016 WL 5402696, at *4 (W.D.N.Y. Sept. 28, 2016).

3. Disclosure of Informant Identities

Defendant moves for disclosure of the identities of all informants used by the
Government in the course of its investigation. (Dkt. No. 27, pgs. 11-12). Defendant also
seeks potential impeachment material as to these individuals. (/d.) The Government
objects to this request on the grounds that defendant has not shown a particularized need
for this information.

The Government has a qualified privilege to withhold information concerning the
names of confidential informants that it does not intend to call as witnesses. See Rovario
v. United States, 353 U.S. 53, 60-62 (1957) (the purpose of the privilege is to encourage
citizens to report criminal activity). The informant’s privilege must give way, however, if
disclosure is essential to a defense or the fair determination of the case. United States v.
Lilla, 699 F.2d 99, 105 (2d Cir. 1983). To that end, a defendant seeking the identity of a
confidential informant must make some evidentiary showing as to why disclosure is

significant to determining defendant’s guilt or innocence. See United States v. Jimenez,
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789 F.2d 167, 170 (2d Cir. 1986) (explaining that defendants face a “heavy burden” of
establishing that disclosure is essential to the defense); Lilla, 699 F.2d at 105 (‘this
requires some demonstration that in the absence of such disclosure the defendant will be
denied a fair trial’); United States v. Valenzuela-Bernal, 458 U.S. 858, 871 (1982)
(defendant need not show that the informant’s testimony would actually be helpful to the
defense, but instead “the events to which a witness might testify, and the relevance of
those events to the crime charged’).

Defendant has not provided any specific reasons as to why informant or witness
identities are material or necessary to his defense. He does not offer an explanation of
what the these individuals might testify about, nor does he establish its relevance to the
crimes charged here. Instead, defendants make general statements that disclosure of
informant information is necessary for the preparation of their defenses for trial. This is
insufficient to meet the burden. If and when an informant is to be called as witnesses at
trial, defendant will have access to his or her identity as well as all relevant impeachment
material, prior statements, and notes of their interviews. In addition, if an informant reveals
exculpatory information at any time, the Government has an ongoing duty to disclose this
information in time for its effective use at trial. Thus, defendant’s motion for disclosure of
informant information is denied.

4, Rule 16 Discovery and Rule 12 Notice

Defendant moves for discovery and inspection pursuant to Rule 16 of the Federal
Rules of Criminal Procedure. (Dkt. No. 27, pgs. 12-14). Rule 16(a) requires the
Government to disclose certain evidence and information upon request of a defendant.

While Rule 16 was intended to provide for liberal discovery, a defendant is not entitled to
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discovery of “the entirety of the Government's case against him.” United States v.
Percevault, 490 F.2d 126, 130 (2d Cir. 1974). Rule 16 provides that a defendant is entitled
to the following: (1) a defendant’s written, recorded or oral statements in the possession
of the Government; (2) the defendant’s prior record; (3) documents, objects, books,
papers, photographs, etc. that will be used during the Government's case-in-chief; (4)
reports of examinations or tests; (5) and information about expert witnesses in
accordance with Fed. R. Evid. 702, 703 and 705. See Fed R. Crim. P. 16(a)(1). Rule 16
specifically exempts from disclosure “reports, memorandum, or other internal
Government documents made by an attorney for the Government or other Government
agent in connection with investigating or prosecuting the case.” See Fed. R. Crim. P.
16(a)(2).

Defendant acknowledges that he has already received voluntary discovery from
the Government but makes the following additional requests: (1) audio and video
recordings not yet turned over; (2) photographs; (3) federal and state police reports; (4)
reports and rough notes documenting interactions between law enforcement and
defendant; (5) any Miranda waiver form utilized, whether signed or not; (6) any consent
form utilized, whether signed or not; (7) expert witness identities and reports; (8) written
or recorded statements of the defendant; (9) rough notes; and (10) search and arrest
warrants.

In response, the Government states that it has fully complied with its obligations
under Rule 16. The Government affirms that it has already provided defendant with
substantial voluntary discovery and that it will continue to provide any additional

discoverable materials that become available. The Government objects to defendant's
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discovery demands to the extent that they are moot, premature, or request material
beyond the scope of the Government's discovery duties.

Based upon the representations made by the Government, and consistent with the
Court’s directives described above, defendant's request for discovery pursuant to Rule
16 is denied as moot. The Government is reminded that its disclosure obligations continue
up through and during trial. See Fed. R. Crim. P. 16(c).

Defendant also moves for notice of intention to use evidence against defendant at
trial pursuant to Rule 12 of the Federal Rules of Criminal Procedure. The Government
has provided notice that it intends to use all items defendant has been provided with or
made aware of in accordance with Rule 12(b)(4)(a). Therefore, this branch of defendant's
discovery motion is also denied as moot.

5. Rules 404(b), 608, and 609 Evidence

Defendant moves for disclosure of any evidence of prior crimes or bad acts the
Government intends to introduce at trial pursuant to Federal Rule of Evidence 404(b).
(Dkt. No. 27, pgs. 14-15). Defendant also moves for pre-trial disclosure of impeachment
evidence pursuant to Federal Rules of Evidence 608 and 609. (/d.) The Government
states that it will provide reasonable notice in advance of trial of the general nature of
prior uncharged crimes that it intends to use at trial under Rule 404(b). It further submits
that it has no obligation to provide pre-trial notice of impeachment evidence under Rules
608 and 609 but states it will provide notice at the time it is ordered to do so by the trial
court. The Government has preliminarily notified defendant it intends to use all prior

criminal conduct, acts, or wrongs pursuant to Rule 404(b). The Government states that
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should it become aware of additional Rule 404(b), Rule 608, or Rule 609 evidence, it will
notify defendant in advance of trial.

The Government is required to provide “reasonable notice in advance of trial” of
the general nature of prior uncharged crimes or bad acts it intends to introduce against a
defendant. See Fed. R. Evid. 404(b). Rule 608 of the Federal Rules of Evidence does not
contain the same pre-trial notice requirement. Based upon the Government’s
representation that it will disclose bad act or impeachment evidence prior to trial,
defendant's motion is denied as moot. The Court instructs that any disclosure should be
done in accordance with the District Court's pre-trial order. The issue of admissibility of
evidence pursuant to Federal Rules of Evidence 404(b), 608, and 609 is left to the
determination of the District Court at the time of trial.

6. Early Disclosure of Witness Statements and Jencks Act Material

Defendant moves for early disclosure of witness names and statements prior to
trial. (Dkt. No. 27, pgs. 16-18). The Government has no general duty to disclose the
identities of its witnesses before trial. United States v. Bejasa, 904 F.2d 137, 139 (2d Cir.
1990). Section 3500 of Title 18 of the United States Code requires that the Government,
on motion of defendant, disclose a Government witness’s prior statements that are in the
Government's possession and relate to the subject matter of the witness’s direct
testimony. See also Jencks v. United States, 353 U.S. 657 (1957); Fed. R. Crim. P. 26.2
(procedure for producing a witness statement). A witness statement is defined as: (1) a
written statement by a witness that is signed or otherwise adopted or approved by the
witness; (2) a substantially verbatim recording or transcription of a witness’s oral

statement; or (3) any statement however taken or recorded made by the witness to the
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grand jury. 18 U.S.C. 3500(e). Statements are not required to be produced, by law, until
after the witness has testified on direct examination, and the Court cannot mandate that
they be produced sooner. See 18 U.S.C. §3500(a); Fed. R. Crim. P 26.2(a).

The Government indicates that it will disclose all 3500 material sufficiently prior to
trial to allow defendant adequate time to prepare and, in accordance with the District
Court's pre-trial order, to permit the Court to conduct the trial in an orderly and efficient
manner. In light of these representations, defendant's request for early disclosure of
witness statements are denied as moot.

7, Preservation of Rough Notes

Defendant moves for an order requiring all federal, state or local agents and
officers to retain and preserve all rough notes taken in the course of the investigation.
(Dkt. No. 27, pgs. 18-19). The defendant further requests that the Government preserve
notes made by Government witnesses, including state and local authorities, in the event
they later become discoverable. (/d.). The Government maintains that it will endeavor to
maintain these materials, should they exist, but also objects that this motion includes
material that may exceed the Government's obligation under 18 U.S.C. 3500 and Fed. R.
Crim. P. 26.2. The Court grants defendants’ motion and the Government is directed to
preserve all rough notes and items of evidence. See United States v. Jones, 2014 U.S.
Dist. LEXIS 84452, at *16 (W.D.N.Y. May 29, 2014), report and recommendation adopted,
2014 U.S. Dist. LEXIS 84023 (W.D.N.Y. June 19, 2014) (quoting United States v. Coates,

U.S. Dist. LEXIS 105689, 2013 WL 3897484, at *5 (W.D.N.Y. July 29, 2013)).

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8, Leave to File Additional Motions

Defendants also moves to preserve his right to make further and additional
motions. (Dkt. No. 27, pg. 19). To the extent defendant intends to bring motions based
upon new rulings, information or evidence, his requests for leave to file additional motions
are granted. To the extent defendant intends to bring motions concerning issues that
could have been raised prior to the previous motion deadline, defendant’s request is
denied without prejudice to bringing the motion upon a showing of good cause for the
untimely filing.

9. Government's Request for Reciprocal Discovery

The Government moves for reciprocal discovery pursuant to Rule 16(b) of the
Federal Rules of Criminal Procedure including the opportunity to inspect, copy or
photograph books, papers, documents, photographs, tangible objects or copies or
portions thereof which are in the possession, custody or control of the defendant and
which the defendant intends to introduce as evidence at trial, as well as the results or
reports of any physical or mental examinations or scientific tests or experiments made in
connection with the case. (Dkt. No. 28, pg. 22). The Government’s motion for reciprocal
discovery is granted, and defendant is reminded that his disclosure obligations continue
up through and during trial. See Fed. R. Crim. P. 16(c).

CONCLUSION

For the foregoing reasons, defendant’s pre-trial motions (Dkt. No. 27) are decided

in the manner set forth above, and the Government's request for reciprocal discovery

(Dkt. No. 28) is granted.

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SO ORDERED.

Dated: March 2 2021 [
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Buffalo, New York

HON. MICHAEL J. ROEMER
United States Magtstrate Judge
